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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF IOWA
                                CENTRAL DIVISION


 RACHEL RAAK LAW and MICAH                                   Case No. 4:22-CV-00176-SMR-SHL
 BROEKEMEIER, individuals,

 Plaintiffs,

 v.                                                                Defendant’s Resistance
                                                                     to Plaintiffs’ Motion
 ROBERT GAST, in his official capac-                             for Preliminary Injunction
 ity as State Court Administrator for
 the Iowa Judicial Branch,

 Defendant.

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                              INTRODUCTION
      The people of Iowa have entrusted the State Judicial Nominating Com-

mission with evaluating the lawyers who apply to serve as judges or justices

on Iowa’s appellate courts and nominating the best applicants for considera-

tion of appointment by the Governor. See Iowa Const. art. V, §§ 15–16. And to

ensure the Commission effectively performs this duty with the confidence of

all Iowans, Iowa law requires geographic and gender balance of commissioners.

See Iowa Code §§ 46.1(3), (5), 46.2(1). Nine commissioners are appointed by the

Governor; eight are elected by Iowa lawyers in elections held every two years

for staggered six-year terms. Iowa Code §§ 46.1–.2. So in each of Iowa’s four

congressional districts, once every six years, the lawyers elect a woman; once,

they elect a man; and once, they have no election. In sum, this means the law-

yers elect four men and four women.

      Plaintiffs claim they want to be elected to serve on the Commission.

Raak Law is a woman living in Iowa’s fourth congressional district, which

elected a woman in 2019 and will be electing a man in the next election in 2023.

And Plaintiff Micah Broekemeier is a man in the first congressional district,

which elected a man three years ago and will be electing a woman in 2023. So

neither is eligible to seek election from their districts right now. But nothing

prevents them from seeking election from a different district—each other’s dis-

trict, for example—or waiting until they would next be eligible for election from

their “home” districts in 2025.

      They sue—and ask for a preliminary injunction—to enjoin enforcement

of the gender-balance requirement for elected commissioners so they can be

listed on the ballot for the upcoming elections in their respective “home” dis-

tricts in January 2023. They argue that the requirement of equal balance of

men and women is a violation of the Equal Protection Clause. But they are not


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likely to succeed on their claim. And this dooms their request for a preliminary

injunction.

      For starters, the gender-balance requirement for elected state commis-

sioners does not violate the Equal Protection Clause because it doesn’t discrim-

inate against men or women—they are provided equal opportunities to serve

on the State Judicial Nominating Commission. But even if the gender-balance

requirement is gender-based discrimination subject to intermediate scrutiny,

it is substantially related to important state interests. These include remedy-

ing past unequal election of women to the Commission—indeed no woman had

ever been elected before the challenged statute—improving the quality and in-

tegrity of the Commission deliberations, fostering diversity in the merit selec-

tion process, and maintaining public confidence in the selection and legitimacy

of Iowa’s courts.

      Today, women are still outnumbered nearly two-to-one by men in the

Iowa bar. Critelli Dec., Doc. 20-2, ¶ 6. And the State’s other interests remain

just as important as in 1987. So even if it would be appropriate to end the

gender-balance requirement someday, today is not that day. The Court should

deny Plaintiffs’ motion for preliminary injunction.
                         FACTUAL BACKGROUND
      In 1962, the people of Iowa ratified a constitutional amendment altering

the State’s method of selecting judges. See Iowa Const. amd. 21. The amend-

ment replaced partisan elections with an appointment process in which the

Governor appoints judges from a slate of nominees approved by a judicial nom-

inating commission. See id.; see also Iowa Const. art. V, § 15.

      Nominees for the Supreme Court are selected by the State Judicial Nom-

inating Commission. See Iowa Const. art. V, § 16. The Constitution sets only a

few fixed requirements for the makeup of the Commission. Id. It requires


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commissioners to be chosen with “due consideration” to “area representation”

and “without reference to political affiliation.” Id. It requires Commissioners

to serve staggered, six-years terms. Id. And it prohibits commissioners from

holding an “office of profit of the United States or the state during their terms”

or from serving a second full term on the Commission. Id.

      The Constitution also set the default composition of the Commission

that was mandatory until July 4, 1973—but could be altered by the Legislature

thereafter. See id. Under this initial composition, nearly half of the commis-

sioners were appointed by the Governor, subject to confirmation by the Senate.

An equal number were elected by the resident members of the Iowa bar. And

the final commissioner—the Chair—was the senior justice of the Iowa Su-

preme Court who is not the Chief Justice. The Legislature kept this general

structure until 2019, when it removed the senior justice and added one addi-

tional appointed commissioner so that the Governor appointed a simple major-

ity of the Commission. See Act of May 8, 2019, ch. 89, §§ 46, 50, 2019 Iowa Acts

302, 311–13.

      From the beginning, the Legislature implemented the Constitution’s re-

quirement for geographic diversity by tying appointments and elections to

Iowa’s congressional districts. But originally, the Legislature did not attempt

to ensure gender diversity on the Commission. And from the first election in

1962 until 1988, no woman was ever elected by Iowa’s attorneys to serve on

the State Commission. Gast Dec., Doc. 20-1, ¶ 10.

      Women made up about 50% of the Iowa population throughout this time.

See U.S. Dep’t of Commerce Bureau of the Census, General Population Char-

acteristics: Iowa, Tbl. 17, at 17-25, available at https://www2.census.gov/li-

brary/publications/decennial/1980/volume-1/iowa/1980a_iaabc-02.pdf         (show-

ing women were 50.7% of the population in 1960, 51.3% in 1970, and 51.4% in


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1980). Indeed, they still do. See U.S. Census Bureau, ACS Demographic and

Housing Estimates 2020, https://data.census.gov/cedsci/table?t=Age%20and%

20Sex&g=0400000US19&y=2020&tid=ACSDP5Y2020.DP05 (showing women

are 50.3% of Iowa population in 2020). But the percentage of female lawyers

was much smaller. Nationally women made up 2.6% of all lawyers in 1960 and

grew to only 8.1% in 1980. Barbara A. Curran, American Lawyers in the 1980s:

A Profession in Transition, 20 Law & Society Rev. 19, 25 (1986), available at

http://www.jstor.com/stable/3053411. According to the best Iowa data availa-

ble, by 2000, women still made up only 22.98% of Iowa resident lawyers. Cri-

telli Dec., Doc. 20-2, ¶¶ 4, 5, 7.

       In 1987, the Legislature addressed this lack of gender diversity among

elected commissioners by mandating that commissioners be balanced among

men and women. See Act of June 7, 1987, ch. 218, § 2, 1987 Iowa Acts 364, 364

(codified at Iowa Code § 46.2 (1989)). At the time, each congressional district

only elected one commissioner, so the statute mandated that the district alter-

nate between electing a man or a woman to the commission. See id.; see also

Meland v. Weber, No. 2:19-cv-02288-JAM-AC, 2021 WL 6118651, at *8 (E.D.

Cal. Dec. 27, 2021) (“The legislature determined that the law was necessary

because the glass ceiling had been bolted shut with metal, shutting out . . .

qualified women.”).

       The statutes governing the election of lawyers to the Commission was

most recently amended in 2019. See Act of May 8, 2019, ch. 89, §§ 47, 51–56,

2019 Iowa Acts 302, 312–15. While the amendments made many substantial

changes, the Legislature reaffirmed the gender-balance requirement. See id.

§ 47 (codified at Iowa Code § 46.2(1) (2021)). Under the current statute, nine

commissioners are appointed by the Governor, and “[n]o more than a simple

majority” of those commissioners can “be of the same gender.” Iowa Code


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§ 46.1(3); see also id. § 46.1(1). Eight commissioners are elected by Iowa law-

yers. See id. § 46.2. The lawyers in each of Iowa’s four congressional district

elect two of the commissioners—who must be “of different genders.” Id.

§ 46.2(1). But because of the staggered six-year terms held every two years, see

id. § 46.2(2); Gast. Dec., Doc. 20-1, ¶ 4, this means that in each of the districts,

once every six years, the lawyers elect a woman; once, they elect a man; and

once, they have no election.

       While the voters and nominators must reside in the congressional dis-

trict, Iowa law does not require the eligible elector seeking election to reside in

the district. See Iowa Code §§ 46.2(1), 46.10(1); see also Iowa Code § 46.4 (add-

ing the requirement that district commissioners must be “eligible electors of

the district,” rather than merely “eligible electors” as for the state commission-

ers in section 46.2(1)); Act of May 8, 2019, ch. 89, § 47, 2019 Iowa Acts 302, 312

(striking a prior version of the section in the 2019 Iowa Code that required

state commissioners to also be of the congressional district).

       Plaintiff Rachel Raak Law is woman who resides in Woodbury County,

a part of the new fourth congressional district. Raak Law Dec., Doc. 17, ¶¶ 2–

3. She’s not a lawyer. Critelli Dec., Doc. 20-2, ¶ 8. But she wants to be on the

ballot when the lawyers of her congressional district elect a replacement for

John Gray, a male lawyer whose term on the Commission expires in 2023.

Raak Law Dec., Doc. 17, ¶ 5; Gast Dec., Doc. 20-1, ¶ 4. Because the lawyers of

her district elected a female lawyer three years ago in 2019, only men are eli-

gible to run in this 2023 election. Gast Dec., Doc. 20-1, ¶ 5–6.

       Similarly, Plaintiff Micah Broekemeier is a man who resides in Johnson

County, a part of the new first congressional district. Broekemeier Dec., Doc.

18, ¶¶ 2–3. He’s also not a lawyer. Critelli Dec., Doc. 20-2, ¶ 8. And he wants

to be on the ballot when the lawyers of his district elect a replacement for


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Dorothy O’Brien, a female lawyer whose term also expires in 2023. Broeke-

meier Dec., Doc. 18, ¶ 5; Gast Dec., Doc. 20-1, ¶ 4. The lawyers in Broekemei-

er's district elected its male commissioner in 2019 and will not do so again until

2025. So in 2023, only women are eligible to be nominated for election to the

Commission. Gast Dec., Doc. 20-1, ¶ 5–6.

      Despite their interest in serving on the State Commission, neither Plain-

tiff has submitted a nominating petition with ten signatures of eligible electors

to the State Court Administrator as required by Iowa law. Gast Dec., Doc. 20-

1, ¶ 9. Nor have they asked for a nominating petition form from the Adminis-

trator. Id. And though there are four impending appointed-commissioner va-

cancies for Governor Reynolds to fill on the Commission before January 2023—

and Raak Law was even previously appointed to serve on a district nominating

commission—they only seek the unlikely possibility of being elected by the law-

yers of their districts. See Mtn. for Prelim. Injunction, Doc. 16; Raak Law Dec.,

Doc. 17, ¶ 3; S. Journal, 2022 Reg. Sess., 89th Gen. Assemb., at 908–911, 936–

37, available at https://www.legis.iowa.gov/docs/publications/SJNL/20220524

_SJNL.pdf.

      So they now seek a preliminary injunction enjoining the State Court Ad-

ministrator from enforcing the gender-balance requirements of Iowa law that

would require them either to wait until 2025 to seek election to the Commission

in the districts where they reside; to seek election in 2023 in a district other

than the one where they reside; or to pursue earlier membership through the

appointment rather than the election process. See Mtn. for Prelim. Injunction,

Doc. 16.
        LEGAL STANDARD FOR PRELIMINARY INJUNCTION
      “A preliminary injunction is an extraordinary remedy never awarded as

of right.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). The power


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to grant a preliminary injunction has been called “an awesome power” that

“necessarily requires the Court to analyze the record carefully to determine

whether Plaintiff has shown that it will be irreparably harmed absent the is-

suance of the requested relief.” Mediacom Communications Corp. v. Sinclair

Broad. Group, Inc., 460 F. Supp. 2d 1012, 1017 (S.D. Iowa 2006).

      Courts in the Eighth Circuit apply a four-part test—generally called the

Dataphase factors—to determine whether preliminary injunctive relief is ap-

propriate. Sanborn Mfg. Co., Inc. v. Campbell Hausfeld/Scott Fetzer Co., 997

F.2d 484, 485–86 (8th Cir. 1993) (citing Dataphase Sys., Inc. v. C.L. Sys., Inc.,

640 F.2d 109, 114 (1981) (en banc)). The four Dataphase factors are: “(1) the

probability of success on the merits; (2) the threat of irreparable harm to the

movant; (3) the balance between this harm and the injury that granting the

injunction will inflict on other interested parties; and (4) whether the issuance

of an injunction is in the public interest.” Id. Ordinarily, “[n]o single factor in

itself is dispositive; in each case all of the factors must be considered to deter-

mine whether on balance they weigh towards granting the injunction.” Baker

Elec. Co-op., Inc. v. Chaske, 28 F.3d 1466, 1472 (8th Cir. 1994).

      But when a preliminary injunction seeks to “enjoin the implementation

of a duly enacted state statute,” a district court must “make a threshold finding

that a party is likely to prevail on the merits.” Planned Parenthood Minn., N.D.

v. Rounds, 530 F.3d 724, 732–33 (8th Cir. 2008) (en banc). Only if a plaintiff

makes this threshold showing should the court “then proceed to weigh the

other Dataphase factors.” Id. at 732. This “more rigorous standard” is intended

“to ensure that preliminary injunctions that thwart a state’s presumptively

reasonable democratic processes are pronounced only after an appropriately

deferential analysis.” Id. at 733.




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                                  ARGUMENT
I.       Plaintiffs are unlikely to succeed on the merits of their claims
         because section 46.2 does not impose differential treatment and
         because, even if it does, it is substantially related to achieving
         important governmental objectives.
         “[C]lassifications by gender must serve important governmental objec-

tives and must be substantially related to achievement of those objectives.”

Craig v. Boren, 429 U.S. 190, 197 (1976). But that word “classification” can’t

be glossed over. It means “differential treatment,” United States v. Virginia,

515 U.S. 515, 532–33 (1996), or employing discriminatory means, see Miss.
Univ. for Women v. Hogan, 458 U.S. 718, 724 (1982). But section 46.2, taken

as a whole, does neither. It does not draw a classification between women and

men, does not treat them differently, and does not discriminate against either

gender. It expressly holds them equal. Therefore, heightened scrutiny does not

apply, and Plaintiffs are unlikely to succeed because a rational basis supports

the statute.

         But even if heightened scrutiny applies, Plaintiffs are still unlikely to

succeed. Numerous important governmental objectives support section 46.2—

including remedying past unequal election of women to the Commission, im-

proving the quality and integrity of the Commission deliberations, fostering
diversity in the merit selection process, and maintaining public confidence in

the selection and legitimacy of Iowa’s courts.
         A.    Men and women have equal opportunities to serve on the
               State Judicial Nominating Commission.
         At the outset, Plaintiffs’ Equal Protection challenge is unlikely to suc-

ceed because section 46.2(1) does not treat men and women differently. The

challenge thus fails at a threshold step. “In the context of gender-based dis-

crimination, the U.S. Supreme Court has interpreted th[e] clause to mean that

unless a government actor can meet the ‘demanding’ burden of showing an


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‘exceedingly persuasive’ justification for treating males differently from fe-

males, the differential treatment is unconstitutional.” D.M. v. Minn. State

High Sch. League, 917 F.3d 994, 1001 (8th Cir. 2019) (quoting Virginia, 518

U.S. at 533) (emphasis added). But section 46.2 does not treat males differently

from females.

       Both men and women can serve as members elected by the lawyers of

each congressional district. They must simply await the staggered time at

which that position is up for election. See Iowa Code §46.2(2) (requiring stag-

gered terms and providing that terms for “no more than three of the commis-

sioners shall expire within the same two-year period”). The result of Iowa Code

chapter 46 is that voting lawyers elect eight commissioners: four men and four

women. Neither gender is favored; neither is disfavored. The statute does not

draw any eligibility classification on its face, and the only classification that

occurs—administering elections such that the eligible voters in a particular

district may only get to elect one commissioner in a given year—is necessary

to carry out the statutory staggered terms.

       With full understanding of chapter 46’s framework, Plaintiffs’ complaint

loses most of its urgency. Plaintiffs’ complaint here is really that they are pre-

cluded from seeking election (1) in 2023, (2) by the eligible voters in the respec-

tive congressional district where Plaintiffs reside—not that they are precluded

from seeking election forever because of their gender. Plaintiffs could have run

for the respective elective openings in the districts where they reside in 2019,

and can do so in 2025 after the six-year term expires. See Iowa Code § 46.2(2).

A statute that merely requires a little patience (because it otherwise operates

equally) is not a constitutional affront. Even more, nothing prevents them from

seeking election from a different district electing their gender, such as each

other’s districts.


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      The Washington Supreme Court upheld a materially similar statute,

which required that two positions on a state political party committee be gen-

der balanced, against a constitutional challenge under that state’s Equal

Rights Amendment. See Marchioro v. Chaney, 582 P.2d 487, 493 (Wash. 1978).

In Marchioro, the plaintiffs asserted a similar “deprivation” of the “right to run

for a position on the state committee.” Id. at 492. They contended they were

unlawfully excluded from running for a position on the committee because of a

statute that required gender balance. But the Washington Supreme Court re-

jected the argument, because it concluded a constitutional provision meant to

guarantee equality would not invalidate a state statute that already operated

equally:

      The legislature has found that in the conduct of the offices of state
      committees there shall be an absolute equality of rights between
      the sexes. An equal number of both sexes must be elected to the
      committee . . . . Neither sex may predominate. Neither may dis-
      criminate or be discriminated against. There is an equality of
      numbers and an equality of rights to be in office and to control the
      affairs of the committee. The ironic result of plaintiffs’ theory
      would be to abolish a statute which mandates equality by invok-
      ing a provision of the constitution passed to guarantee equality.

             The major objection of plaintiffs seems to be the mandate
      by statute that one of the positions on the state committee from
      each county is reserved for a female and the other for a male and
      that this violates the equal rights amendment. But if the statute
      simply said, “The state committee of each major political party
      shall be composed of an equal number of women and men” there
      clearly would be no abridgment or denial on account of sex of any
      equality of rights under the law.

Id. (emphasis added). Chapter 46 operates in exactly this fashion: it provides

that the elected membership of the state judicial nominating commission shall




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contain an equal number of women and men. There is no abridgment or denial

on account of sex.1

        Furthermore, because the state judicial nominating commission has a

“narrow function” and a “disproportionate effect on a definable group of con-

stituents,” the United States Court of Appeals for the Eighth Circuit has held

that for purposes of evaluating a “one person, one vote” equal protection chal-

lenge to the process of filling the elective commissioner positions, “Iowa must

only show its system of election . . . is rationally related to Iowa’s legitimate

interests.” Carlson v. Wiggins, 675 F.3d 1134, 1141 (8th Cir. 2012). Although

this case is asserting a right to be on the ballot rather than a right to vote with

that ballot (as in Carlson), there is room to conclude under Carlson that judi-

cial selection methods nevertheless deserve special deference in any sort of

equal protection analysis.
        B.    Even if intermediate scrutiny applies, success is unlikely
              because the gender-balance statute serves several sub-
              stantial interests.
        Plaintiffs’ likelihood-of-success argument hinges predominantly on one

case: Back v. Carter, 933 F. Supp. 738 (N.D. Ind. 1996). In Back, the Indiana

district court enjoined a statute that (1) increased membership on a nominat-

ing commission; (2) mandated that the eight non-judge commissioners be gen-

der balanced; (3) mandated that at least two members be racial minorities; and

(4) ended all existing commissioners’ terms, even if their term had tenure re-

maining, and required new elections. See Back, 933 F. Supp. at 746–47, 762–


1 Although an Iowa Attorney General opinion is not binding on this Court, a
published opinion from 1992 concluded that a proposed Iowa equal rights
amendment would not invalidate a corollary gender balance statute, Iowa Code
section 69.16A, which generally applies to membership on appointive state
boards and commissions. Op. No. 92-10-6, 1992 WL 470369, at *3 (Iowa Att’y
Gen. Oct. 28, 1992).


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63. The fourth requirement of the law ended Back’s service as a previously

elected commissioner “in September 1995, rather than in 1997 as originally

expected,” id. at 747, which constituted his Article III injury, see id. at 749.

      Although the court enjoined the statute, it did so in part because the

defendants’ proof was lacking. Significantly, it acknowledged that the State

“can show an important interest by showing societal discrimination in the rel-

evant field.” Id. at 757. It further acknowledged that if female “attorneys con-

stituted twenty percent [of the bar] at all times and none were ever elected,

there might be some cause for concern,” but faulted the defendants for not pre-

senting “any direct evidence of gender-based discrimination” to that effect. Id.

at 758.

      That’s where this case is different. Official government publications in-

dicate that from 1963 (when the state judicial nominating commission was first

established and staffed) until 1987 (when chapter 46’s gender balance require-

ment was enacted), all elected commissioners in Iowa were men. Gast Dec.,

Doc. 20-1, ¶ 10. And data kept by the Office of Professional Regulation for the

last two decades indicates that women both were and are underrepresented in

the bar compared to their percentage in the general population. Critelli Dec.,

Doc. 20-2, ¶¶ 5–7; See U.S. Dep’t of Commerce Bureau of the Census, General

Population   Characteristics:    Iowa,   Tbl.   17,    at   17-25,   available     at

https://www2.census.gov/library/publications/decennial/1980/volume-1/iowa/

1980a_iaabc-02.pdf (showing women were 50.7% of the population in 1960,

51.3% in 1970, and 51.4% in 1980). This discriminatory effect of the non-gen-

der-balanced election regime justifies the gender balance requirement, which

remedies past unequal election of women.

      But that’s not the only important government interest the gender bal-

ance statute serves. It also aims to improve the quality and integrity of the


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Commission deliberations, foster diversity in the merit selection process, and

maintain public confidence in the selection and legitimacy of Iowa’s courts.

Professor Rachel Paine Caufield, an expert on the implementation of merit se-

lection and other judicial selection systems, explains why each of these inter-

ests are important. Caufield Dec, Doc. 20-3, ¶¶ 6–7. For example, one benefit

of gender balance is that a lesser percentage of women on the commission could

be viewed as mere tokenism—which does not sway public confidence in deci-

sionmaking and legitimacy. Caufield Dec., Doc. 20-3, ¶ 6. This was a notable

data point for a California federal court that denied an injunction against an

analogous California statute requiring female membership on many corporate

boards. See Meland, 2021 WL 6118651, at *7 (crediting “empirical research

supporting the idea that a critical mass of women is required and that any

number below risks creating a token factor”). It’s persuasive here too.

      Another case from the 1990s illustrates why an equal protection chal-

lenge to a gender balance statute depends in large part on the evidence pre-

sented. In Mallory v. Harkness, a Florida federal court addressed a statute that

required one (of three) judicial nominating commissioners appointed by the

state bar to be “a member of a racial or ethnic minority group or a woman.”

Mallory v. Harkness, 895 F. Supp. 1556, 1558 (S.D. Fla. 1995) (quoting Fla.

Stat. § 43.29(1)(a)). The court found no substantial justification for this “one in

three” requirement because it discerned no prior discrimination by the Com-

mission when screening judicial applicants. See id. at 1559. Thus, Mallory in-

volved a law the court enjoined—but when viewed in contrast to this case, it

illustrates why this law shouldn’t be.

      First, by focusing on discrimination by the commission in nominating

potential judges, the court conflated the question of “who does the Commission

nominate” with “who does the Governor ultimately appoint”—and the Eighth


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Circuit cautioned in Carlson that analysis of the composition and selection

methods for nominating commissioners must be careful not to collapse the two

functions. See Carlson, 675 F.3d at 1140–41. Second, Mallory recognized it

would be conceivable to show past gross statistical disparity justifying other-

wise differential treatment. See Mallory, 895 F. Supp. at 1559. It merely found

that one inconclusive report the state offered did not in fact show gross statis-

tical disparity. By contrast, here the statistics do make that showing.

      Further, section 46.2 is also much better tailored than the law in Mal-

lory (or Back for that matter). The statutes in both cases essentially treated

“women and minorities as fungible groups.” Mallory, 895 F. Supp. at 1561; see

Back, 933 F. Supp. at 746. This meant there was insufficient tailoring because

it could not be necessary “to appoint white women as a remedy for the un-

derrepresentation alleged to have been suffered by racial and ethnic minority

groups.” Mallory, 895 F. Supp. at 1561. But here, the law is narrower—section

46.2 only requires gender balance, not racial balance—and it attempted to

remedy women being completely excluded from the commission in practice (de-

spite being technically eligible to run) for the first twenty-five years of its ex-

istence.

      Put simply, even if a myopic and unsupported focus on diversity merely

for diversity’s sake might not justify a truly gender-discriminatory law, here,

section 46.2 serves more, and more holistic, interests. And those interests, or

the data points underlying or informing them, are shown in official government

publications, “legislative history materials, statistical analyses, . . . anecdotal

evidence, and expert declarations.” Meland, 2021 WL 6118651, at *5. In

Meland, the record—utilizing similar materials, analyses, and expert declara-

tions—counseled against enjoining a California gender balance law because it

supported the “justification . . . of remedying past discrimination.” Id. That’s


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present here as well, but it’s not the only interest section 46.2 serves. Collec-

tively, those interests justify the statute—even if it it otherwise imposes dif-

ferential treatment.

      And all these interests still justify the gender-balance requirement to-

day. Women are still outnumbered nearly two-to-one by men in the Iowa bar.

Critelli Dec., Doc. 20-2, ¶ 6. And the State still needs a State Judicial Nomi-

nating Commission that operates as effectively as possible, instills confidence

in the public, and encourages diversity—as the challenged gender-balance re-

quirement does. Thus, Plaintiffs’ claims are unlikely to succeed, and the Court

should not issue any injunction.
II.   The other Dataphase factors don’t support upsetting the status
      quo by enjoining a duly enacted statute that has been in effect
      for 35 years and continues to serve important state interests.
      Under Planned Parenthood Minn., N.D. v. Rounds, 530 F.3d 724, 732

(8th Cir. 2008) (en banc), Plaintiffs’ failure to show they’re likely to succeed is

the end of the analysis. And it’s unnecessary to “proceed to weigh the other

Dataphase factors.” Id. at 732. But considering the other factors doesn’t pro-

vide Plaintiffs any more help.

      First, they’ve not shown that they will be irreparably harmed. And cer-

tainly not in the imminent future necessitating a preliminary injunction now.

While Plaintiffs assert a deprivation of constitutional rights, the real harm

they assert is a purported inability to appear on the ballot in the election oc-

curring in the congressional districts where they reside. But they haven’t taken

any action to place their name on the ballot. Gast Dec., Doc. 20-1, ¶ 9. The

period for submitting nominating petitions doesn’t close for another six

months. Id. ¶ 7. See Thrasher v. Grip-Tite Mfg. Co., 535 F. Supp. 2d 937, 944–

45 (S.D. Iowa 2008) (denying a temporary injunction in February 2008 because




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asserted harm that would not occur until May 2008 was not sufficiently imme-

diate). And there’s nothing preventing them from seeking to be nominated in

each other’s congressional districts even now. Compare Iowa Code 46.2(1) (re-

quiring voters to elect “two eligible electors” to the state Commission), with

Iowa Code § 46.4(1) (requiring voters to elect “five eligible electors of the dis-

trict” to each district commission (emphasis added)).

       Additionally, when a litigant “seeks on its motion for preliminary injunc-

tion substantially the same relief it would obtain after a trial on the merits,” a

district court does not err in denying an injunction. Sanborn Mfg., 997 F.2d at

490. That’s the case here. Plaintiffs’ Complaint seeks a permanent injunction

“forbidding the Defendant and his agents from enforcing, or attempting to en-

force” section 46.2, while the Motion for Preliminary Injunction seeks in sub-

stance the same thing, just on a temporary basis. Compare Complaint, Doc. 1,

p. 9, ¶ B, with Mtn. for Prelim. Injunction, Doc. 16. The purported harm to

Plaintiffs at this stage is neither unique nor immediate, so an injunction should

not issue.

       Two other factors in the Dataphase injunction analysis— “the state of

the balance” between plaintiffs’ asserted harm “and the injury that granting

the injunction will inflict on other parties;” and “the public interest”—also

weigh against enjoining section 46.2. Dataphase Sys., 640 F.2d at 113. “[A]ny

time a State is enjoined by a court from effectuating statutes enacted by rep-

resentatives of its people, it suffers a form of irreparable injury.” New Motor

Vehicle Bd. v. Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977) (Rehnquist, J., in

chambers); see also Planned Parenthood Minn., N.D. v. Rounds, 530 F.3d 724,

732–33 (8th Cir. 2008) (en banc). But this harm is even greater here than nor-

mal.




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      Section 46.2 is obviously not the only part of Iowa Code chapter 46. And

another part of that chapter indicates that enjoining section 46.2 could have

the effect of stopping all judicial selection processes in Iowa—which would be

contrary to the public interest by increasing caseloads and increasing delay in

resolving existing cases as fewer judges must handle the same number of cases.

      Iowa Code section 46.15A provides that if “any provision” of chapter 46

“is preliminarily enjoined, no judicial nominating commission shall meet to

nominate persons to serve as a judge or justice while the preliminary injunc-

tion is in effect or while any appeal of the preliminary injunction or a related

permanent injunction is pending unless the injunction is subsequently stayed

or otherwise lifted.” Iowa Code § 46.15A(2) (emphasis added). Section 46.2

plainly qualifies as “any provision” of chapter 46. And section 46.15A, in turn,

could make the consequences quite stark: “no judicial nominating commission

shall meet,” period. Not at any level, for any opening. Because two of the three

nominees for a current Iowa Supreme Court vacancy are sitting judges (June

27,   2022   News     Release,   https://www.iowajnc.gov/media/cms/News_Re-

lease__Announcement_of_Appli_046B3222DFEC1.pdf), that could mean that

if the Governor elevates one of the sitting judges to the Iowa Supreme Court,

no “backfilling” could occur. Put another way, “[t]he principal role of the court

of appeals is to dispose justly of a high volume of cases,” Iowa Ct. R. 21.11, but

enjoining any provision of chapter 46 could force that state court to attempt to

fulfill its principal (and weighty) role while shorthanded. Yet, the court of ap-

peals enters the final decision for a significant number of cases in Iowa. See

Rosemary Shaw Sackett & Richard H. Doyle, History of the Iowa Court of Ap-

peals, 60 Drake L. Rev. 1, 39 (2011) (noting that in 2010, “the court of appeals’

holding was the final word in approximately eighty-six percent of all appeals

decided by formal opinion”). Thus, it is not in the public interest to enter an


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injunction here, and thereby potentially stretch Iowa’s state courts (including

the court of appeals or any district court with an upcoming vacancy) even thin-

ner than they already are.

         Even in Back, where the Indiana district court enjoined an Indiana gen-

der balance statute, the Court nevertheless applied Indiana’s statutory pre-

sumption of severability. Back, 933 F. Supp. at 759–60. Here, the statutory

instructions are even clearer. Iowa law contains a similar general severability

statute, see Iowa Code § 4.12, and so does specific chapter 46, see id.

§ 46.15A(1). But more importantly, chapter 46 also contains the “full stop” pro-

vision, section 46.15A(2), which could significantly harm the public interest by

stopping all judicial nominating processes and creating a backlog in Iowa’s

court system. Therefore, the public interest factor weighs against an injunction

here.2
                                 CONCLUSION
         Plaintiffs have not satisfied the Dataphase factors. They haven’t suf-

fered irreparable harm (and aren’t about to), their claims are unlikely to suc-

ceed, and the other factors (particularly the public interest in considering sec-

tion 46.15A) weigh in Defendant’s favor. Defendant respectfully requests that

the Court decline to issue any injunction and award any other relief appropri-

ate under the circumstances.



2 If this Court nevertheless grants Plaintiffs’ motion for a preliminary injunc-
tion, Rule 65(c) requires the court to set a bond. See R. Civ. P. 65(c) (authorizing
issuance of preliminary injunction “only if the movant gives security in an
amount the court considers proper to pay the costs and damages sustained by
any party found to have been wrongly enjoined”) (emphasis added)); see also
Rathmann Group v. Tanenbaum, 889 F.2d 787, 789 (8th Cir. 1989). Because
the grant of preliminary injunction could prevent the State from filling any
judicial vacancy by having a Commission meet, see Iowa Code § 46.15A(2), the
potential cost to the productivity of the Judicial Branch could be significant.


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                                 Respectfully submitted,

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                                                   PROOF OF SERVICE
                                   The undersigned certifies that the foregoing instrument
                                 was served on counsel for all parties of record by delivery
                                 in the following manner on June 28, 2022:

                                         U.S. Mail                  FAX
                                         Hand Delivery              Overnight Courier
                                         Federal Express            Other
                                         CM/ECF

                                 Signature: /s/ Samuel P. Langholz




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